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In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS

******************** *
CHARI and MATTHEW LEHAN, *
Parents of M.L., A Minor,       *                  No. 10-137V
                                *                  Special Master Christian J. Moran
                   Petitioners, *
                                *                  Filed: February 19, 2014
v.                              *
                                *
SECRETARY OF HEALTH             *
AND HUMAN SERVICES,             *                  Attorneys’ fees and costs; award
                                *                  in the amount to which
                   Respondent.  *                  respondent does not object.
                                *
******************** *

Edward M. Kraus, Law Offices of Chicago Kent, Chicago, I.L., for Petitioners;
Jennifer L. Reynaud, United States Department of Justice, Washington, D.C., for
Respondent.

               UNPUBLISHED DECISION ON FEES AND COSTS1

       On February 12, 2014, respondent filed a stipulation of fact concerning final
attorney’s fees and costs in the above-captioned matter. Previously, petitioners
informally submitted a draft application for attorneys’ fees and costs to respondent
for review. Upon review of petitioners’ application, respondent raised objections
to certain items. Based on subsequent discussions, petitioners amended their
application to request $64,200.00, an amount to which respondent does not object.
The Court awards this amount.

       On March 2, 2010, Chari and Matthew Lehan, on behalf of their son, M.L.,
filed a petition for compensation alleging that the ProQuad and Prevnar vaccines,
which M.L. received on March 16, 2006, caused him to suffer an episode of acute
       1
         Following the undersigned’s August 22, 2013 decision, petitioners made a timely
request for redaction pursuant to § 300aa-12(d)(4)(B); Vaccine Rule 18(b). Accordingly, this
decision is being issued with the name of the vacinee redacted to his initials.
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disseminated encephalomyelitis (“ADEM”) resulting in developmental delays.
Petitioners received compensation based upon the parties’ stipulation. Decision,
filed Aug. 22, 2013, reissued as redacted, Sept. 5, 2013. Because petitioners
received compensation, they are entitled to an award of attorneys’ fees and costs.
42 U.S.C. § 300aa-15(e).

       Petitioners seek a total of $62,000.00 in attorneys’ fees and costs for their
counsel. Additionally, in compliance with General Order No. 9, petitioners state
that they incurred out-of-pocket litigation expenses of $2,200.00 while pursuing
this claim. Respondent has no objection to the amount requested for attorneys’
fees and costs.

        After reviewing the request, the Court awards the following:

        1. A lump sum of $62,000.00 in the form of a check made payable to
           petitioners and petitioners’ attorney, Edward M. Kraus of the Law
           Offices of Chicago Kent, for attorneys’ fees and other litigation costs
           available under 42 U.S.C. § 300aa-15(e).

        2. A lump sum payment of $2,200.00 in the form of a check payable to
           petitioners, Chari and Matthew Lehan.

      The Court thanks the parties for their cooperative efforts in resolving this
matter. The Clerk shall enter judgment accordingly.2

        Any questions may be directed to my law clerk, Mary Holmes, at (202) 357-
6353.

        IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




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          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.
